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AO 245B (Rev. 11/16) Judgment in a Criminal Case JLF/jac (4363043)
Sheet 1

UNITED STATES DISTRICT COURT
Western District Of New York

 

   

 

 

UNITED STATES OF AMERICA JUDGMENT IN A CRIMINAL CASE
v. )
Thomas Traficante Case Number: 6:18CR06034-001
USM Number: 90578-053
) RaymondG. Perini ss
Defendant’s Attorney a
: T
THE DEFENDANT: EE STRIG>
[X] pleaded guilty to count(s) 1 and 2 of information
L] pleaded nolo contendere to count(s) ee oo
which was accepted by the court.
C] was found guilty on count(s) — ee _
after a plea of not guilty.
The defendant is adjudicated guilty of these offenses:
Title & Section Nature of Offense Offense Ended Count
18 U.S.C. § 2261A(@2)(B) and Cyberstalking December 2017 l
18 U.S.C. § 2261(6)(5)
21 USS.C. § 841(a)(1) and Distribution of a Controlled Substance November 2017 2
21 U.S.C. § 841(b)(1)(C)
The defendant is sentenced as provided in pages 2 through = 7 __ of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
C1] The defendant has been found not guilty on count(s) _ ee
X] Criminal Complaint 17-MJ-4159 is 1 are dismissed on the motion of the United States.

It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay
restitution, the defendant must notify the court and United States attorney of material changes in economic circumstances.

 

 

 

Signature of Judge.

Honorable David G. Larimer, U.S. District Judge
Name and Title of Judge

Seer 7, Zork

 

 
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AO 245B (Rev. 11/16) Judgment in Criminal Case JLF/jac (4363043)
Sheet 2 — Imprisonment
Judgment — Page 2 of 7
DEFENDANT: Thomas Traficante
CASE NUMBER: 6:18CR06034-001

IMPRISONMENT

The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a total term of:
48 months on each of Counts 1 and 2, to be served concurrently, for a total term of 48 months.

The cost of incarceration fee is waived.

[X]_ The court makes the following recommendations to the Bureau of Prisons:
The defendant shall serve his sentence at FCI Otisville.

The defendant shall participate in mental health treatment while incarcerated.

X] The defendant is remanded to the custody of the United States Marshal.

CJ The defendant shall surrender to the United States Marshal for this district:
LC] at Oam O pm. on

C as notified by the United States Marshal.

[1 The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

[] before 2 p.m. on

 

C1 as notified by the United States Marshal.

[] as notified by the Probation or Pretrial Services Office.

 

 

RETURN
I have executed this judgment as follows:
Defendant delivered on to _ a
at , with a certified copy of this judgment.
a UNITED STATES MARSHAL
By 3

 

DEPUTY UNITED STATES MARSHAL
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AO 245B (Rev. 11/16) Judgment in a Criminal Case JLF/jac (4363043)
Sheet 3 — Supervised Release

Judgment—Page 3 of 7
DEFENDANT: Thomas Traficante
CASE NUMBER: 6:18CR06034-001

SUPERVISED RELEASE

Upon release from imprisonment, you will be on supervised release for a term of:
3 years on each of Counts 1 and 2, to run concurrently, for a total term of 3 years.

MANDATORY CONDITIONS

1. You must not commit another federal, state or local crime.
2. You must not unlawfully possess a controlled substance.

You must refrain from any unlawful use of a controlled substance. You must submit to one drug test within 15 days of release from
imprisonment and at least two periodic drug tests thereafter, as determined by the court.

The above drug testing condition is suspended, based on the court’s determination that
you pose a low risk of future substance abuse. (check if applicable)

4. LX You must make restitution in accordance with 18 U.S.C. §§ 3663 and 3663A or any other statute authorizing a sentence of
restitution. (check if applicable)

You must cooperate in the collection of DNA as directed by the probation officer. (check if applicable)

DO &

You must comply with the requirements of the Sex Offender Registration and Notification Act (34 U.S.C. § 20901, et seq.) as
directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which you reside,
work, are a student, or were convicted of a qualifying offense. (check if applicable)

7. You must participate in an approved program for domestic violence. (check if applicable)

You must comply with the standard conditions that have been adopted by this court as well as with any other conditions on the attached
page.
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AO 245B (Rev. 11/16) Judgment in a Criminal Case JLF/jac (4363043)
Sheet 3A — Supervised Release
Judgment—Page 4 of 7

DEFENDANT: Thomas Traficante
CASE NUMBER: 6:18CR06034-001

STANDARD CONDITIONS OF SUPERVISION

As part of your supervised release, you must comply with the following standard conditions of supervision. These conditions are imposed
because they establish the basic expectations for your behavior while on supervision and identify the minimum tools needed by probation
officers to keep informed, report to the court about, and bring about improvements in your conduct and condition.

1. You must report to the probation office in the federal judicial district where you are authorized to reside within 72 hours of your
release from imprisonment, unless the probation officer instructs you to report to a different probation office or within a different time
frame.

2. After initially reporting to the probation office, you will receive instructions from the court or the probation officer about how and
when you must report to the probation officer, and you must report to the probation officer as instructed

3. You must not knowingly leave the federal judicial district where you are authorized to reside without first getting permission from the
court or the probation officer.

4, You must answer truthfully the questions asked by your probation officer.

You must live at a place approved by the probation officer. If you plan to change where you live or anything about your living
arrangements (such as the people you live with), you must notify the probation officer at least 10 days before the change. If notifying
the probation officer in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72
hours of becoming aware of a change or expected change.

6. You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit the probation officer to
take any items prohibited by the conditions of your supervision that he or she observes in plain view.

7. You must work full time (at least 30 hours per week) at a lawful type of employment, unless the probation officer excuses you from
doing so. If you do not have full-time employment you must try to find full-time employment, unless the probation officer excuses you
from doing so. If you plan to change where you work or anything about your work (such as your position or your job responsibilities),
you must notify the probation officer at least 10 days before the change. If notifying the probation officer at least 10 days in advance is
not possible due to unanticipated circumstances, you must notify the probation officer within 72 hours of becoming aware of a change
or expected change.

8. You must not communicate or interact with someone you know is engaged in criminal activity. If you know someone has been
convicted ofa felony, you must not knowingly communicate or interact with that person without first getting the permission of the
probation officer.

9. Ifyou are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours.

10. You must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (i.e., anything that was
designed, or was modified for, the specific purpose of causing bodily injury or death to another person such as nunchakus or tasers).

11. You must not act or make any agreement with a law enforcement agency to act as a confidential human source or informant without
first getting the permission of the court.

12. Ifthe probation officer determines that you pose a risk to another person (including an organization), the probation officer may require
you to notify the person about the risk and you must comply with that instruction. The probation officer may contact the person and
confirm that you have notified the person about the risk.

13. You must follow the instructions of the probation officer related to the conditions of supervision.

U.S. Probation Office Use Only

Upon a finding of a violation of probation or supervised release, I understand that this court may (1) revoke supervision, (2) extend the terms
of supervision, and/or (3) modify the conditions of probation or supervised release. A U.S. probation officer has instructed me on the
conditions specified by the court and has provided me with a written copy of this judgment containing these conditions. For further
information regarding these conditions, see Overview of Probation and Supervised Release Conditions, available at: Www.uscourts.gov.

Defendant’s Signature Date

 

U.S. Probation Officer’s Signature Date

 
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AO 245B (Rev. 11/16) Judgment in a Criminal Case : JLF/jac (4363043)
Sheet 3B — Supervised Release

Judgment—Page 5 of 7

DEFENDANT: Thomas Traficante
CASE NUMBER: 6:18CR06034-001

SPECIAL CONDITIONS OF SUPERVISION

The defendant shall comply with the conditions of home detention, which will be monitored by a Global Positioning Satellite
system, for a period of six (6) months. The defendant shall wear and/or carry (an) electronic monitoring device(s) and follow
monitoring procedures specified by the defendant's probation officer as outlined in Probation Form 61. The defendant shall
pay a portion or the total cost of GPS services at the daily rate provided by the U.S. Probation Office.

The defendant shall participate in a program for substance abuse, including substance abuse testing such as urinalysis and other
testing, and shall undergo a drug/alcohol evaluation and treatment if substance abuse is indicated by the testing. The probation
officer will supervise the details of any testing and treatment, including the selection of a treatment provider and schedule. If
in-patient treatment is recommended, however, it must be approved by the Court unless the defendant consents. The defendant
is not to leave treatment until completion or as ordered by the court. While in treatment and after discharge from treatment,
the defendant is to abstain from the use of alcohol. The defendant is required to contribute to the cost of services rendered.

The defendant is to participate in a mental health treatment program, including a mental health evaluation and any treatment
recommended. The probation officer will supervise the details of any testing and treatment, including the selection of a
provider and schedule. If in-patient treatment is recommended, however, it must be approved by the Court unless the defendant
consents. The defendant is not to leave such treatment until completion or as ordered by the Court. While in treatment or
taking psychotropic medication, the defendant shall abstain from the use of alcohol. The defendant is required to contribute to
the cost of services rendered.

The defendant shall submit to a search of his person, property, vehicle, place of residence or any other property under his
control, based upon reasonable suspicion, and permit confiscation of any evidence or contraband discovered.

The defendant shall not have any contact, directly or indirectly, including text or email with the victim, K.K., her family
members, or her classmates.

The defendant shall notify the probation officer of and comply with all Orders of Protection.

The defendant shall not use or possess any computer, data storage device, or any internet capable device unless the defendant
participates in the Computer and Internet Monitoring Program (CIMP), or unless authorized by the Court or the U.S. Probation
Office. The defendant must provide the U.S. Probation Office advance notification of any computer(s), automated service(s),
or connected device(s) that will be used during the term of supervision. The U.S. Probation Office is authorized to install any
application as necessary to surveil all activity on computer(s) or connected device(s) owned or operated by the defendant. The
defendant will be required to pay the cost of monitoring services. The U.S. Probation Office shall be notified via electronic
transmission of impermissible/suspicious activity or communications occurring on such computer or connected device,
consistent with the computer monitoring policy in effect by the probation office. As triggered by impermissible/suspicious
activity, the defendant shall consent to and cooperate with unannounced examinations of any computer equipment owned or
used by the defendant. This examination shall include but is not limited to retrieval and copying of all data from the
computer(s), connected device(s), storage media, and any internal or external peripherals, and may involve removal of such
equipment for the purpose of conducting a more thorough inspection. Any such monitoring or examinations shall be designed
to avoid, as much as possible, reading any privileged information or any private material that is not illegal or reasonably likely
to lead to illegal material or evidence related to illegal activity.
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AO 245B (Rev. 11/16) Judgment in a Criminal Case JLF/jac (4363043)
Sheet 4 — Criminal Monetary Penalties
Judgment—Page 6 of 7
DEFENDANT: Thomas Traficante
CASE NUMBER: 6:18CR06034-001

CRIMINAL MONETARY PENALTIES

The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

Assessment JVTA Assessment* Fine Restitution
Torats ¢ 200($100oneach ¢ g $ 0 $ 5,869.01
Count)
(1 The determination of restitution is deferred until . An Amended Judgment in a Criminal Case (AO 245C) will be entered

after such determination.
C] The defendant must make restitution (including community restitution) to the following payees in the amount listed below.
If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise in

the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal victims must be paid
before the United States is paid.

Name of Payee Total Loss** Restitution Ordered Priority or Percentage
K.K. $5,869.01 $5,869.01 100%
TOTALS $ ____ 5,869.01 $ 5,869.01

C] Restitution amount ordered pursuant to plea agreement $

[] The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the fifteenth
day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject to penalties for
delinquency and default, pursuant to 18 U.S.C. § 3612(g).

The court determined that the defendant does not have the ability to pay interest and it is ordered that:
[X] the interest requirement is waived forthe [[] fine [1 restitution.

(1 the interest requirement forthe [J fine [J _ restitution is modified as follows:

* Justice for Victims of Trafficking Act of 2015, Pub. L. No. 114-22.
** Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed on or
after September 13, 1994, but before April 23, 1996.
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AO 245B (Rev. 11/16) Judgment in a Criminal Case JLF/jac (4363043)

Sheet 5 — Schedule of Payments

Judgment — Page i of 7

DEFENDANT: Thomas Traficante
CASE NUMBER: 6:18CR06034-001

SCHEDULE OF PAYMENTS

Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties is due as follows:

A

C1 Lump sum payment of $ ___ due immediately, balance due
[1 notlaterthan _ _ , or
[] in accordance Oe, oO » 1 E,or { F below; or

Rx Payment to begin immediately (may be combined with Cl c  D,or Sa F below); or

[] Payment in equal _ _ (e.g., weekly, monthly, quarterly) installmentsof $ over a period of
(e.g., months or years), to commence (e.g., 30 or 60 days) after the date of this judgment; or

(] Payment in equal (e.g., weekly, monthly, quarterly) installments of $ _ over a period of
_ (e.g., months or years), to commence (e.g., 30 or 60 days) after release from imprisonment to a
term of supervision; or

 

L} Payment during the term of supervised release will commence within _ _ (e.g, 30 or 60 days) after release from
imprisonment. The court will set the payment plan based on an assessment of the defendant’s ability to pay at that time; or

X] Special instructions regarding the payment of criminal monetary penalties:

The defendant shall pay a special assessment of $100 on each Count, for a total of $200, which shall be due immediately. If
incarcerated, payment shall begin under the Bureau of Prisons Inmate Financial Responsibility Program. Payments shall be made
to the Clerk, U.S. District Court (WD/NY), 2 Niagara Square, Buffalo, New York 14202.

Restitution shall be due immediately Interest on the restitution is waived. While incarcerated, if the defendant is non-UNICOR or
UNICOR grade 5, the defendant shall pay installments of $25 per quarter. If assigned grades 1 through 4 in UNICOR, the
defendant shall pay installments of 50% of the inmate's monthly pay. While on supervision, the defendant shall make monthly
payments at the rate of 15% of monthly gross income.

Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due
during imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons’ Inmate Financial
Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.

O

O
O

Joint and Several

Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
and corresponding payee, if appropriate.

The defendant shall pay the cost of prosecution.
The defendant shall pay the following court cost(s):

The defendant shall forfeit the defendant’s interest in the following property to the United States:

Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
(5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
